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                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA,                               )       No. : CV    ( )
                                                        )
                 Plaintiff,                             )
                                                        )
            v.                                          )
                                                        )       September 27, 2019
PHILIPPE CHAIN, M.D.,                                   )
                                                        )
                 Defendant.                             )

                                           COMPLAINT

      Plaintiff United States of America brings this action against defendant Philippe Chain,

M.D. (“Chain”) to recover damages defendant caused to the TRICARE Program.

      For its causes of action, the United States alleges as follows:

                                       NATURE OF ACTION

      1.         The United States brings this action to recover statutory damages and civil

                 penalties under the False Claims Act, as amended, 31 U.S.C. §§ 3729-3733. The

                 United States also brings this action to recover all available damages and other

                 monetary relief under the common law or equitable theories of unjust enrichment

                 and payment by mistake of fact.

      2.         The United States alleges that defendant caused false or fraudulent claims for

                 payment to be submitted to TRICARE, the federal health care program for active

                 duty military personnel, retirees, and their families.

                                          JURISDICTION

      3.         This Court has subject matter jurisdiction to entertain this action under 28 U.S.C.

                 §§1331 and 1345. The Court possesses supplemental jurisdiction to entertain the
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        common law and equitable causes of action pursuant to 28 U.S.C. § 1367(a) and

        31 USC §3732(b).

4.      This Court has personal jurisdiction over defendant pursuant to 31 U.S.C.

        § 3732(a), because defendant resided in or transacted business in this District, and

        because defendant committed acts within this District that violated 31 U.S.C. §

        3729.

                                      VENUE

5.      Venue is proper in this District under 31 U.S.C. § 3732 and 28 U.S.C. §1391(b)

        because defendant resided and/or transacted business in this District, and because

        defendant committed acts within this District that violated 31 U.S.C. § 3729.

                                    PARTIES

6.      The United States brings this action on behalf of the United States Department of

        Defense (DOD), including DOD component the Defense Health Agency (DHA),

        which administers the TRICARE program.

7.      Defendant Chain, at all relevant times, was a physician licensed to practice

        medicine in Connecticut.

                        THE FEDERAL FALSE CLAIMS ACT

8.      The federal False Claims Act provides, in pertinent part that:

                (a)    Liability for Certain Acts. (1) [A]ny person who—

                       (A)     knowingly presents, or causes to be presented, a false or

                       fraudulent claim for payment or approval;

                       (B)     knowingly makes, uses, or causes to be made or used, a

                       false record or statement material to a false or fraudulent claim;


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                                              * * *

               is liable to the United States Government . . . .

               (b)     For purposes of this section- (1) the terms "knowing" and

               "knowingly"- (A) mean that a person, with respect to information (i) has

               actual knowledge of the information; (ii) acts in deliberate ignorance of

               the truth or falsity of the information; or (iii) acts in reckless disregard of

               the truth or falsity of the information, and (B) require no proof of specific

               intent to defraud. 31 U.S.C. § 3729.

                          THE TRICARE PROGRAM

9.      TRICARE is a medical benefits program established by federal law. 10 U.S.C. §§

        1071-1110b. TRICARE covers eligible beneficiaries, which include active duty

        members of the Uniformed Services and their dependents, as well as retired

        members of the Uniformed Services and their dependents. The federal

        government reimburses a portion of the cost of health care services and

        prescription medications provided to TRICARE beneficiaries. TRICARE is

        administered by the DHA.

10.     TRICARE covers only medically necessary inpatient and outpatient care. See 32

        C.F.R. § 199.4(a)(1)(i).

11.     TRICARE regulations also provide that TRICARE may deny payment in “abuse

        situations.” 32 C.F.R. § 199.9(b). To avoid abuse situations, providers are

        obligated to provide services and supplies under TRICARE that are: “Furnished at

        the appropriate level and only when and to the extent medically necessary . . .; of

        a quality that meets professionally recognized standards of health care; and,


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      supported by adequate medical documentation as may reasonably be required

      under this part . . . to evidence the medical necessity and quality of services

      furnished, as well as the appropriateness of the level of care.” Id.

12.   The TRICARE regulations, in turn, define “appropriate” medical care as that

      which is, inter alia, “[f]urnished economically”—i.e., “in the least expensive level

      of care or medical environment adequate to provide the required medical care. . .”

      32 C.F.R. § 199.2.

13.   TRICARE offers its beneficiaries a prescription drug benefit. TRICARE

      beneficiaries may receive prescription drugs from three different sources: military

      treatment facilities, the TRICARE Mail Order Pharmacy, and retail pharmacies.

14.   TRICARE will only pay “for medically necessary prescription drugs required in

      the treatment of an illness or injury. . . .” 32 C.F.R. § 199.4.

15.   Providers submit claims to TRICARE using the CMS 1500 or an electronic

      equivalent. Providers certify on the CMS 1500, inter alia, that (a) the services

      rendered are medically indicated and necessary for the health of the patient; (b)

      the information on the claim form is “true, accurate, and complete”; and (c) the

      provider understands that “payment and satisfaction of this claim will be from

      Federal and State funds, and that any false claims, statements, or documents, or

      concealment of material fact, may be prosecuted under applicable Federal and

      State laws.”

16.   Because it is not feasible for the TRICARE program, or its contractors, to review

      medical records corresponding to each of the claims for payment it receives from

      providers, the program relies on providers to comply with TRICARE


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      requirements and relies on providers to submit truthful and accurate certifications

      and claims.

                         THE FRAUDULENT CONDUCT

17.   Defendant acted with actual knowledge, deliberate ignorance, or reckless

      disregard of the laws, regulations and guidance applicable to the TRICARE

      program.

18.   During the time-period of January 28, 2015 through July 28, 2015, Chain

      practiced medicine in Connecticut and performed telehealth services from

      Connecticut for CallMD, a telemedicine company located in Las Vegas, Nevada.

19.   The telehealth services that Chain provided on behalf of CallMD involved

      prescribing compounded medications to TRICARE beneficiaries.

20.   “Compounding” is a practice by which a pharmacist combines, mixes, or alters

      the ingredients of a drug to create a medication tailored to the needs of an

      individual patient. Compounded medications are not FDA-approved.

21.   CallMD regularly emailed Chain notifications indicating that the CallMD portal

      had patient files ready for him to review. After reviewing patient information,

      Chain accessed pre-populated “Prescription Pads” and authorized prescriptions

      for compounded medications, such as pain creams.

22.   Chain never examined any of the TRICARE beneficiaries prior to authorizing the

      prescriptions.

23.   Chain never spoke with any of TRICARE beneficiaries, either via phone or via

      two way audio/video, prior to authorizing the prescriptions.




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24.   Chain never established a physician-patient relationship with any of the

      TRICARE beneficiaries, prior to authorizing the prescriptions.

25.   CallMD paid Chain a fee for each patient “consultation” he provided.

26.   Relevant TRICARE policy indicates that to provide covered telemedicine

      services, a physician must communicate with the patient via two way audio and

      video.

27.   Because Chain never examined or spoke with any of the TRICARE beneficiaries

      or established a physican-patient relationship with the beneficiaries prior to

      authorizing the prescriptions in question, the prescriptions were invalid. In

      addition, the prescriptions were not medically necessary.

28.   The invalid prescriptions for compounded medications were submitted to various

      pharmacies and paid for by the TRICAE program.

29.   Chain’s conduct caused false or fraudulent claims to be paid by the TRICARE

      program and caused damages to the TRICARE program.

                                        CLAIMS

                             FIRST CAUSE OF ACTION
                    (False Claims Act: Presentation of False Claims)
                              (31 U.S.C. § 3729(a)(1)(A))

30.   The United States realleges and reincorporates paragraphs 1 through 29 as if fully

      set forth herein.

31.   Defendant knowingly presented or caused to be presented false or fraudulent

      claims for payment or approval.

32.   By virtue of the false or fraudulent presented or caused to be presented by the

      defendant, the United States suffered damages and therefore is entitled to


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      statutory damages under the False Claims Act, to be determined at trial, plus a

      civil penalty for each violation.

                         SECOND CAUSE OF ACTION
           (False Claims Act: Making or Using False Record or Statement)
                            (31 U.S.C. § 3729 (a)(1)(B))

33.   The United States realleges and reincorporates paragraphs 1 through 29 as if fully

      set forth herein.

34.   Defendant knowingly made, used, or caused to be made or used, false records or

      false statements material to a false or fraudulent claim.

35.   By virtue of the false records or false statements made by the defendant, the

      United States suffered damages and therefore is entitled to statutory damages

      under the False Claims Act, to be determined at trial, plus a civil penalty for each

      violation.

                            THIRD CAUSE OF ACTION
                                (Unjust Enrichment)

36.   The United States realleges and reincorporates paragraphs 1 through 29 as if fully

      set forth herein.

37.   This is a claim for the recovery of monies by which defendant has been unjustly

      enriched.

38.   By directly or indirectly obtaining federal funds to which he was not entitled,

      defendant was unjustly enriched, and is liable to account and pay such amounts,

      or the proceeds therefrom, which are to be determined at trial, to the United

      States.




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                             FOURTH CAUSE OF ACTION
                                (Payment By Mistake)

39.     The United States realleges and reincorporates paragraphs 1 through 29 as if fully

        set forth herein.

40.     This is a claim for the recovery of monies paid by the United States as a result of

        mistaken understandings of fact.

41.     The false or fraudulent claims which defendant caused to be submitted to the

        United States were paid by the United States based upon mistaken or erroneous

        understandings of material fact.

42.     The United States, acting in reasonable reliance on the accuracy, completeness

        and truthfulness of the information contained in the claims, paid certain sums of

        money, and defendant is thus liable to account for and pay such amounts, which

        are to be determined at trial, to the United States.

                                 PRAYER FOR RELIEF

WHEREFORE, the United States demands and prays that judgment be entered in its favor

against defendant as follows:

                a. On the First and Second Causes of Action under the False Claims Act,

                    as amended, for the amount of statutory damages, and such civil

                    penalties as are required by law, together with all such further relief as

                    may be just and proper.

                b. On the Third and Fourth Causes of Action, for unjust enrichment and

                    payment by mistake, for the damages sustained and/or amounts by

                    which the defendant was unjustly enriched or by which defendant



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            retained illegally obtained monies, plus interest, costs, and expenses,

            and all such further relief as may be just and proper.

                       Respectfully submitted,

                       JOHN H. DURHAM
                       ATTORNEY FOR THE UNITED STATES

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                                   CERTIFICATE OF SERVICE

I hereby certify that on September 27, 2019, a copy of the foregoing Complaint was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent by e-mail to all parties by operation of the Court’s electronic filing system or
by mail to anyone unable to accept electronic filing, as indicated on this Notice of Electronic
Filing. Parties may access this filing through the Court’s CM/ECF System.

In addition, I hereby certify that on September 27, 2019, a true and correct copy of the foregoing
Complaint was served by electronic mail on:

Ellen Bonner, Esq.
Richard Westling, Esq.
Epstein Becker Green
424 Church St., Suite 2000
Nashville, TN 37219


                                                      /s/ Richard M. Molot
                                               RICHARD M. MOLOT
                                               Assistant United States Attorney




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